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 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )
                                   )         CR NO. S-07-289 LKK
11                  Plaintiff,     )
                                   )
12             v.                  )         STIPULATION AND
                                   )         ORDER RE STATUS CONFERENCE
13                                 )
     JUAN CAMACHO, et. al.,        )
14                                 )
                    Defendants.    )
15   ______________________________)

16        IT IS HEREBY stipulated between the United States of America

17   through its undersigned counsel, Carolyn K. Delaney, Assistant

18   United States Attorney, together with the defendants and their

19   counsel, that the status conference currently scheduled for

20   Tuesday, August 11, 2009, should be vacated; and a further status

21   conference should be scheduled for Tuesday, August 25, 2009.

22        It is further stipulated and agreed between the parties that

23   the time under the Speedy Trial Act should be excluded from

24   today’s date to August 25, 2009, under Local Code T4, Title 18,

25   United States Code, Section 3161 (h)(8)(B)(iv), for continuity of

26   counsel and defense preparation; and       Local Code T2, Title 18,

27   United States Code, Section 3161 (h)(8)(B)(ii).        The Court

28   specifically finds that the case is complex and that a

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 1   continuance is necessary to give the defendant reasonable time to

 2   prepare for trial in this matter.       The Court finds that the ends

 3   of justice served by granting a continuance outweigh the best

 4   interest of the public and defendants in a speedy trial.

 5

 6   Dated: August 4, 2009                   Respectfully submitted,

 7                                           LAWRENCE G. BROWN
                                             U.S. Attorney
 8
                                             /s/ Carolyn K. Delaney
 9
                                             CAROLYN K. DELANEY
10                                           Assistant U.S. Attorney

11
     Dated: August 4, 2009                   /s/ J. Toney
12
                                             J. Toney
13                                           Attorney for Juan Camacho

14   Dated: August 4, 2009                   /s/ Mark Reichel

15                                           Mark Reichel
                                             Attorney for L.H. Lopez-Avilez
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 3                                     ORDER

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 5   IT IS HEREBY ORDERED:      That the status conference set for August

 6   11, 2009 is VACATED; and a further status conference for August

 7   25, 2009 is scheduled. It is further ORDERED that the time under

 8   the Speedy Trial Act between today’s date and August 25, 2009, is

 9   excluded under Local Code T4, Title 18, United States Code,

10   Section 3161 (h)(8)(B)(iv), to give the defendants time to

11   adequately prepare and in the interests of justice; and Local Code

12   T2, Title 18, United States Code, Section 3161 (h)(8)(B)(ii).      The

13   Court specifically finds that the case is complex and that a

14   continuance is necessary to give the defendants reasonable time to

15   prepare for trial in this matter.       The Court finds that the ends

16   of justice served by granting a continuance outweigh the best

17   interest of the public and defendants in a speedy trial.

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     Dated: August 11, 2009
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